                                     Case 19-19489-LMI            Doc 64           Filed 06/01/21             Page 1 of 8

Fill in this information to identify the case:

Debtor 1              Marco A Paez

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Southern                 District of   Florida
                                                                                (State)

Case number           19-19489-lmi



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:              THE BANK OF NEW YORK MELLON FKA                       Court claim no. (if known):         8
                               THE BANK OF NEW YORK AS TRUSTEE
                               FOR THE CERTIFICATEHOLDERS OF
                               CWABS INC., ASSET-BACKED
                               CERTIFICATES, SERIES 2007-11



Last four digits of any number you               XXXXXX9855                          Date of payment change:
use to identify the debtor’s account:                                                Must be at least 21 days after date of                7/1/2021
                                                                                     this notice

                                                                                     New total payment:
                                                                                     Principal, interest, and escrow, if any               $1,307.12

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:         $ 107.10                                          New escrow payment :            $ 109.97

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                        3.00000%                         New interest rate:           4.00000%

             Current principal and interest payment:       $ 1,136.77                        New principal and interest payment:             $ 1,197.15

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                              New mortgage payment:             $ _________




Official Form 410S1                              Notice of Mortgage Payment Change                                                      page 1
                               Case 19-19489-LMI                 Doc 64        Filed 06/01/21              Page 2 of 8

 Debtor 1            Marco A Paez                                                              Case number (if known) 19-19489-lmi
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Ciro A Mestres                                                                            Date      5/19/2021
     Signature

Print:         Ciro                  A                                  Mestres                   Title     Authorized Agent for Creditor
               First Name            Middle Name                        Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                          30076
               City                          State                       ZIP Code

Contact phone      678-281-6516                                                                    Email    Ciro.Mestres@mccalla.com
***If the Debtor and lender are currently participating in the Mortgage Modification Mediation Program, this Notice of Payment Change is for notice
purposes only and will be abated pending the outcome of the mediation. If the Debtor does not modify the mortgage, the notices will be effective
pursuant to the Notice of Payment Change.




Official Form 410S1                            Notice of Mortgage Payment Change                                               page 2
                 Case 19-19489-LMI        Doc 64     Filed 06/01/21    Page 3 of 8




                                                       Bankruptcy Case No.: 19-19489-lmi
 In Re:                                                Chapter:             13
          Marco A Paez                                 Judge:                Laurel M Iscoff

                                   CERTIFICATE OF SERVICE

      I, Ciro A Mestres, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Marco A Paez
360 Nw 114 Ave, #105
Miami, FL 33172

Ricardo Corona, Esq.                           (served via ECF Notification)
3899 NW 7 St
Miami, FL 33126

Nancy K. Neidich, Trustee                      (served via ECF Notification)
P.O. Box 279806
Miramar, FL 33027

U.S. Trustee                              (served via ECF Notification)
Office of the US Trustee 51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
       I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       6/1/2021         By:    /s/Ciro A Mestres
                     (date)                Ciro A Mestres
                                           Authorized Agent for Creditor
Case 19-19489-LMI   Doc 64   Filed 06/01/21   Page 4 of 8
Case 19-19489-LMI   Doc 64   Filed 06/01/21   Page 5 of 8
Case 19-19489-LMI   Doc 64   Filed 06/01/21   Page 6 of 8
                                     Case 19-19489-LMI          Doc
                                               Shellpoint Mortgage      64
                                                                   Servicing                 Filed 06/01/21                 Page 7 of 8
                                                         Servicing
                                                         PO Box 10826
                                                         Greenville, SC 29603 0826
                                                         For Inquiries: (800) 365-7107

                                                                                                               Analysis Date:                                      May 24, 2021
       MARCO A PAEZ                                                                                            Loan:
       KARLA D PAEZ
       360 NW 114th Ave Apt 105                                                                                Property Address:
       Miami FL 33172                                                                                          360 NW 114TH AVE APT 105
                                                                                                               MIAMI, FL 33172




                                                Annual Escrow Account Disclosure Statement - Account History
     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual      Effective Jul01, 2021       Prior Esc Pmt           August 01, 2020        Escrow Balance Calculation
P & I Pmt:                  $1,136.77                  $1,197.15**     P & I Pmt:                     $1,136.77       Due Date:                                   October 01, 2020
Escrow Pmt:                  $107.10                    $109.97        Escrow Pmt:                     $107.10        Escrow Balance:                                   $2,284.51
Other Funds Pmt:                $0.00                      $0.00       Other Funds Pmt:                   $0.00       Anticipated Pmts to Escrow:                         $963.90
Asst. Pmt (-):                  $0.00                      $0.00       Asst. Pmt (-):                     $0.00       Anticipated Pmts from Escrow (-):                      $0.00
Reserve Acct Pmt:               $0.00                      $0.00       Resrv Acct Pmt:                    $0.00
Total Payment:              $1,243.87                  $1,307.12       Total Payment:                 $1,243.87       Anticipated Escrow Balance:                        $3,248.41

Shortage/Overage Information                       Effective Jul01, 2021          Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                                       amounts or insurance premiums, your escrow balance contains a cushion of 219.94.
                                                                $1,319.63
Required Cushion                                                 $219.94          A cushion is an additional amount of funds held in your escrow in order to prevent the
Required Starting Balance                                         $989.72         balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                     $0.00         occurs. Your lowest monthly balance should not be below 219.94 or 1/6 of the
                                                                                  anticipated payment from the account.
      ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
     This is a statement of actual activity in your escrow account from Aug2020 to June 2021. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                        Payments to Escrow                   Payments From Escrow                                                 Escrow Balance
        Date            Anticipated      Actual              Anticipated       Actual                 Description                 Required              Actual
                                                                                                 Starting Balance                  1,071.01            (128.04)
       Aug 2020               107.10            202.14                                     *                                       1,178.11              74.10
       Sep 2020               107.10            101.07                                     *                                       1,285.21             175.17
       Oct 2020               107.10            101.07                                     *                                       1,392.31             276.24
       Nov 2020               107.10            101.07          1,285.21          1,319.63 * County Tax                              214.20            (942.32)
       Dec 2020               107.10            107.10                                                                               321.30            (835.22)
       Jan 2021               107.10            107.10                                                                               428.40            (728.12)
       Feb 2021               107.10            107.10                                                                               535.50            (621.02)
       Mar 2021               107.10            107.10                                                                               642.60            (513.92)
       Apr 2021               107.10            107.10                                                                               749.70            (406.82)
       May 2021               107.10            107.10                                                                               856.80            (299.72)
       Jun 2021               107.10                                                         *                                       963.90            (299.72)
                                                                                                 Anticipated Transactions            963.90            (299.72)
       Jun 2021                                 963.90 P                                                                                                664.18
                            $1,178.10         $2,111.85        $1,285.21         $1,319.63
     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
     P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
                                    Case 19-19489-LMI          Doc
                                              Shellpoint Mortgage      64
                                                                  Servicing                      Filed 06/01/21                  Page 8 of 8
                                                         For Inquiries: (800) 365-7107

                                                                                                                    Analysis Date:                                         May 24, 2021
                                                                                                                    Loan:

                                       Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
      Date                    Anticipated Payments                                                                                           Escrow Balance
                             To Escrow       From Escrow                    Description                                              Anticipated           Required
                                                                            Starting Balance                                            3,248.41                     989.72
   Jul 2021                       109.97                                                                                                3,358.38                   1,099.69
   Aug 2021                       109.97                                                                                                3,468.35                   1,209.66
   Sep 2021                       109.97                                                                                                3,578.32                   1,319.63
   Oct 2021                       109.97                                                                                                3,688.29                   1,429.60
   Nov 2021                       109.97           1,319.63                 County Tax                                                  2,478.63                     219.94
   Dec 2021                       109.97                                                                                                2,588.60                     329.91
   Jan 2022                       109.97                                                                                                2,698.57                     439.88
   Feb 2022                       109.97                                                                                                2,808.54                     549.85
   Mar 2022                       109.97                                                                                                2,918.51                     659.82
   Apr 2022                       109.97                                                                                                3,028.48                     769.79
   May 2022                       109.97                                                                                                3,138.45                     879.76
   Jun 2022                       109.97                                                                                                3,248.42                     989.73
                                $1,319.64          $1,319.63
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is 3,248.41. Your starting
 balance (escrow balance required) according to this analysis should be $989.72.



 We anticipate the total of your coming year bills to be1,319.63. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
  New Escrow Payment Calculation
   Unadjusted Escrow Payment                                           $109.97
   Surplus Reduction:                                                    $0.00
   Shortage Installment:                                                 $0.00
   Rounding Adjustment Amount:                                           $0.00
   Escrow Payment:                                                     $109.97
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise you of the status of your mortgage loan
This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof, who might have received a discharge of such debt in accordance with applicable
bankruptcy laws or who might be subject to the automatic stay of Section362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of the lien against the
collateral property, which has not been discharged in your bankruptcy.
Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want to request information about your loan
or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution or Information Request, please write to us at the following address:
Shellpoint Mortgage Servicing
PO Box 10826
Greenville, SC 29603 0826
